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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                    8:09CR3
                     Plaintiff,               )
                                              )
              v.                              )
                                              )                     ORDER
ANTONIO FRAUSTO, et al.                       )
                                              )
                     Defendants.              )
                                              )


        On this 30th day of April, 2009, this matter came before the court pursuant to
defendant Frausto’s motion and amended motion to continue hearing, Filing Nos. 73 & 79,
and the appeal of the magistrate judge’s order of detention, Filing 38. AUSA Robert Sigler
appeared for the government, and Carlos Monzon appeared for the defendant Frausto.
The parties discussed issues concerning the discovery and trial schedule. The defendant
orally moved to continue trial until discovery issues concerning a transcript of conversations
allegedly between the defendant and a cooperating witness can be examined and
translated into Spanish. The court set discovery deadlines and a tentative trial date
pending a telephone conference with the attorneys for all the codefendants.

       On May 1, 2009, the court held a phone conference with counsel for the
government, AUSA Robert Sigler; counsel for defendant Frausto, Carlos Monzon; counsel
for defendant Frausto-Diaz, Korey Reiman; and counsel for defendant Hernandez-
Campos, William Bianco. The court and parties agreed to the discovery deadlines and trial
setting set forth below.

       IT IS, THEREFORE, ORDERED that:

      1. On or before the close of business May 18, 2009, the government will advise
defendants of any disagreement or edits it or the cooperating witness has with the
government’s translation of the audible transcript of the recording between the defendant
Frausto and the cooperating witness.

       2. On or before the close of business June 1, 2009, the defendants must identify
and disclose the testimony of any expert witnesses they intend to call for trial consistent
with the Federal Rules of Criminal Procedure.

       3. On or before the close of business June 8, 2009, the government must identify
and disclose the testimony of any expert witnesses it intends to call for trial consistent with
the Federal Rules of Criminal Procedure.
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        4. On or before the close of business June 10, 2009, the parties must file all
pretrial motions in limine.

      5. A pretrial conference is scheduled for June 11, 2009, at 9:00 a.m., to take up
any pending motions and trial scheduling issues.

      6. Government must identify any cooperating witnesses on or before ten business
days prior to trial.

      7. Jury trial is set for 8:30 a.m., on June 22, 2009, Courtroom No. 3, Roman L.
Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.

       The court finds that in the interest of justice, pursuant to defendant Frausto’s oral
motion to continue, and the parties’ agreement that trial should be continued to June 22,
2009, the speedy trial clock is tolled from April 30, 2009, through June 22, 2009.

       DATED this 12th day of May, 2009.

                                          BY THE COURT:



                                          s/ Joseph F. Bataillon
                                          Chief United States District Judge




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